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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Nathaniel Phillips
                                  Plaintiff,
v.                                                     Case No.: 1:17−cv−08882
                                                       Honorable Jeffrey T. Gilbert
TransUnion, LLC, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 29, 2018:


        MINUTE entry before the Honorable Jeffrey T. Gilbert: Status hearing held on
5/29/18 and continued to 8/14/18 at 10:00 a.m. Written discovery shall be served by
6/12/18. Fact discovery shall be completed by 1/9/19. The parties will file a joint
discovery report by 8/10/18. If the parties are having any issues with discovery, they
should not wait until the 8/14/18 status hearing to raise the dispute with the Court. Rather,
they should meet and confer about those issues and, if they cannot resolve the issues
themselves, counsel shall file an appropriate motion and notice it before Magistrate Judge
Gilbert. Mailed notice(ber, )




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